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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Western District
                                             __________ District of
                                                                 of Texas
                                                                    __________


                    WENDY DAVIS et al.                         )
                             Plaintiff                         )
                                v.                             )      Case No. 1:21-cv-565-RP
                ELIAZAR CISNEROS et al.                        )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Defendants Randi Ceh and Steve Ceh                                                                            .


Date:          08/30/2024                                                              /s/ Jason C. Greaves
                                                                                         Attorney’s signature


                                                                            Jason C. Greaves, Tex. Bar No. 24124953
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